UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI

OCU 4, Weg lov

Plaintiff |

Case No. !')- Sall- cv~ $- MoH

eee CO No Ss

Defendant

Mise | Posprhet
RAMAN

APPLICATION FOR LEAVE TO FILE ACTION
WITHOUT PAYMENT OF FEES
WITH AFFIDAVIT OF FINANCIAL STATUS IN SUPPORT

I state that | am unable to pay the fees to file an action against the defendant(s) in this case
and that the actions of the defendant(s) have harmed me.
Attached is my Affidavit of Financial Status in support of my application to the court for

leave to file a civil action without payment of costs.

ECC, sshealer

Plaintiff

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